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1    MICHAEL STEPANIAN
     Attorney at Law (CSBN 037712)
2    819 Eddy Street
     San Francisco, CA 94109
3    Telephone: (415) 771-6174
     Facsimile: (415) 474-3748
4
     RANDY SUE POLLOCK
5    Attorney at Law (CSBN 64493)
     2831 Telegraph Avenue
6    Oakland, CA 94609
     Telephone: (510) 763-9967
7    Facsimile: (510) 272-0711
8    Attorneys for Defendant
     NATALI MEDINA CISNEROS
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10
11                               UNITED STATES DISTRICT COURT
12                           NORTHERN DISTRICT OF CALIFORNIA
13                                               ooo
14    UNITED STATES OF AMERICA,                      CR. No. 06-0316-MHP
15                  Plaintiff,
16    vs.
17                                                   STIPULATION TO MODIFY
                                                     CONDITIONS OF PRETRIAL
18    STANLEY JAMES PRYO R, JR., et. al.             RELEASE

19
                    Defendants.
20
                                                 /
21
22
            Defendant Natali Medina Cisneros, by and through his counsel of record Randy Sue
23
     Pollock and Michael Stepanian, and Assistant United States Attorney Barbara Silano hereby
24
     stipulate and agree to modify the conditions of his $500,000.00 secured appearance bond as
25
     follows:
26
            Instead of residing at 11570 Highway 9 in Brookdale, CA, Mr. Cisneros shall live
27
     with Jennifer Gilbert-Soto, his surety, at 500 Olive Hill Lane, Woodside, CA 94062.
28
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1    Mr. Cisneros has reported to Pretrial Services as directed without any problems. His drug
2    tests have been negative. Laura Weigel, his supervising Pretrial Service Officer, has no
3    objection to this proposed modification of the bond.
4
5    Date:   October 4, 2006                                /S/ Randy Sue Pollock
                                                            Randy Sue Pollock
6                                                           Michael Stepanian
                                                            Counsel for Defendant
7                                                           Natali Medina Cisneros
8
     Date:   October 4, 2006                                /S/ Barbara Silano
9                                                           Barbara Silano
                                                            Assistant United States Attorney
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     Dated: 10/5/2006




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